         Case:18-05288-EAG11 Doc#:245 Filed:10/04/19 Entered:10/05/19 00:59:20                                               Desc:
                            Imaged Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 18-05288-EAG
SKYTEC INC                                                                                                 Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: rosadoc                      Page 1 of 1                          Date Rcvd: Oct 02, 2019
                                      Form ID: pdf003                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 04, 2019.
db             +SKYTEC INC,   500 CARR 869,   SUITE 501,   CATANO, PR 00962-2011
cr             +LOGISTIC SYSTEMS, INC.,   3000 PALMER,   MISSOULA, MT 59808-1671

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 04, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 2, 2019 at the address(es) listed below:
              ALEXIS FUENTES HERNANDEZ     on behalf of Creditor    LOGISTIC SYSTEMS, INC. alex@fuentes-law.com,
               fuenteslaw@icloud.com
              ALEXIS FUENTES HERNANDEZ     on behalf of Debtor    SKYTEC INC alex@fuentes-law.com,
               fuenteslaw@icloud.com
              ALFREDO FERNANDEZ MARTINEZ     on behalf of Creditor    ORIENTAL BANK
               afernandez@delgadofernandez.com, aperez@delgadofernandez.com
              ANDREW MORTON     on behalf of Creditor    LOGISTIC SYSTEMS, INC. andrew.morton@stoel.com
              ANDREW MORTON     on behalf of Debtor    SKYTEC INC andrew.morton@stoel.com
              BRYAN T GLOVER    on behalf of Debtor    SKYTEC INC bryan.glover@stoel.com,
               Sandra.lonon@foster.com;litdocket@foster.com
              BRYAN T GLOVER    on behalf of Creditor    LOGISTIC SYSTEMS, INC. bryan.glover@stoel.com,
               Sandra.lonon@foster.com;litdocket@foster.com
              CARLOS A RODRIGUEZ VIDAL    on behalf of Creditor    LOGISTIC SYSTEMS, INC.
               crodriguez-vidal@gaclaw.com
              CARLOS A RODRIGUEZ VIDAL    on behalf of Debtor    SKYTEC INC crodriguez-vidal@gaclaw.com
              FRANSHESKA JANET PABON    on behalf of Creditor    FIRST BANK PUERTO RICO FPabon@lvvlaw.com,
               NCruz@lvvlaw.com
              IVAN M CASTRO ORTIZ    on behalf of Creditor    MUNICIPALITY OF CATANO icastro@alblegal.net
              MARISTELLA SANCHEZ RODRIGUEZ     on behalf of Creditor    ORIENTAL BANK
               msanchez@delgadofernandez.com, blopez@delgadofernandez.com;msanchez.ecf@gmail.com
              MONSITA LECAROZ ARRIBAS     ustpregion21.hr.ecf@usdoj.gov
              SOLYMAR CASTILLO MORALES     on behalf of Debtor    SKYTEC INC scastillo@gaclaw.com,
               jrosado@gaclaw.com
              SOLYMAR CASTILLO MORALES     on behalf of Creditor    LOGISTIC SYSTEMS, INC. scastillo@gaclaw.com,
               jrosado@gaclaw.com
              Samuel T. Bull,    on behalf of Creditor    LOGISTIC SYSTEMS, INC. sam.bull@foster.com,
               jan.howell@foster.com;litdocket@foster.com
              US TRUSTEE   ustpregion21.hr.ecf@usdoj.gov
                                                                                              TOTAL: 17
Case:18-05288-EAG11 Doc#:245 Filed:10/04/19 Entered:10/05/19 00:59:20   Desc:
                   Imaged Certificate of Notice Page 2 of 2
